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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

JANE DOE #1,

              Plaintiff,

v.                                                   CASE NO. 3:23-cv-383-MMH-SJH

CROWLEY MARITIME
CORPORATION, et al.,

             Defendants.
                                         /

                       ORDER SETTING VIDEO HEARING

      THIS CAUSE is before the Court on Defendant Crowley Maritime

Corporation’s Motion for Protective Order Prohibiting Extrajudicial Statements

Regarding the Treminio and Doe Cases (“Motion”). Doc. 49. Upon review, the Court

finds that a hearing on the Motion is appropriate.

      In addition, the Motion includes a certification that “counsel for Crowley has

conferred with counsel for Plaintiff, who stated that Plaintiff opposes the relief sought

in this Motion.” Doc. 49 at 19. However, such does not explain the means by which

the conferral conference occurred, as required by Local Rule 3.01(g)(2)(C). It is

therefore unclear how the parties conferred and whether they did so effectively and

adequately. As such, the Court will require to parties to promptly confer—in a

substantive discussion in person, by telephone, or by video conference—in a good-

faith effort to resolve the Motion. See McLaughlin v. Select Rehab. LLC, No. 3:22-cv-59-

HES-MCR, 2023 WL 3009868, at *3 (M.D. Fla. Mar. 15, 2023) (“Local Rule 3.01(g)
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requires a movant to ‘confer with the opposing party in a good faith effort to resolve

the motion.’ . . . The rule has been construed to mean to ‘speak to each other in person

or by telephone, in a good faith attempt to resolve disputed issues.’”) (citations

omitted); see also Devs. Sur. & Indem. Co. v. Archer W. Contractors, LLC, No. 6:16-cv-1875-

Orl-40KRS, 2018 WL 3327876, at *1 n.1 (M.D. Fla. July 6, 2018) (“‘The term

“confer” in Rule 3.01(g) requires a substantive conversation in person or by telephone

in a good faith effort to resolve the motion without court action and does not envision

an email, fax or letter.’”).

       Accordingly, it is ORDERED:

       1.     A hearing is hereby scheduled before the undersigned on September 30,

2024, at 1:00 p.m. The hearing will be conducted by video teleconferencing using

Zoom. The Courtroom Deputy will separately send participants the link. Information

on how others can observe the proceeding can be found on the Court’s website,

www.flmd.uscourts.gov. Participants and observers should dress in suitable attire and

appear in front of an appropriate professional background. Recording, broadcasting,

transmitting, or photographing any part of the proceedings is strictly prohibited. See

Local Rule 5.01.

       2.     The parties shall make every effort to resolve the Motion in advance of

the hearing and are directed to promptly confer—in a substantive discussion in person,

by telephone, or by video conference—in a good-faith effort to resolve the Motion. On

or before September 25, 2024, Crowley shall file a supplement to its Motion specifying


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the manner in which the parties conferred and identifying whether the parties have

agreed to a resolution of all or part of the Motion.

      DONE AND ORDERED in Jacksonville, Florida, on September 19, 2024.




Copies to:

Counsel of Record




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